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                     SUPREME COURT OF THE STATE OF NEW YORK
                     COUNTY OF NEW YORK                                                Index No.:
                                    ----------------------------------------X          Date purchased:
                     58 EAST PARTNERS, LLC
                                                                                       Plaintiff(s) designate(s)
                                                                                          NEW YORK
                                                                                       County as the place of trial
                                                Plaintff,
                                                                                       SUMMONS
                                    -against-
                                                                                       Plaintiff(s) Reside(s) at:
                                                                                       58 East 1" Street
                     TRAVELERS EXCESS AND SURPLUS                                      New York, New York
                     LINES COMPANY,                                                    County of New York

                                                Defendant.                             The basis of venue designated
                                                                                       is: Plaintiff's Principal Place
                                                                                  X         of Business

                     To the above named Defendant(s):

                         YOU ARE HEREBY SUMMONED to answer the complaint in this action and to
                     serve a copy of your answer, or, if the complaint is not served with this summons, to
                     serve a notice of appearance, on the Plaintiffs' Atttomey(s) within 20 days after the
                     service of this summons, exclusive of the day of service (or within 30 days after the
                     service is complete if this summons is not personally delivered to you within the State of
                     New York); and in case of your failure to appear or answer, judgment will be taken
                     against you by default for the relief demanded in the complaint.

                     Dated, the 2nd day of March, 2020

                                                                                             LD & W,INSTON, LLP
                                                                      al-

                                                                      By     7   'U.t&L,tA     -iJT
                                                                                Johnathan C. Lerner
                                                                      475 ark venue South, 28th Floor
                                                                      New       New York 10016
                                                                          (212) 686-4655

                     Defendant's Address:

                     Travelers Excess and Surplus Lines Company, do NYS Department of Financial Services
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                     SUPREME COURT OF THE STATE OF NEW YORK
                     COUNTY OF NEW YORK
                                                                             ':1
                     58 EAST PARTNERS, LLC

                                               Plaintiff,

                                   -against-                                           COMPLAINT

                     TRAVELERS EXCESS AND SURPLUS
                     LINES COMPANY,

                                               Defendant.
                                                                              X

                             Plaintiff, 58 EAST PARTNERS, LLC, by its attorneys, LERNER, ARNOLD &

                     WINSTON, LLP, as and for its Complaint, alleges, upon information and belief as follows:



                              1.      At all times hereinafter mentioned, plaintiff 58 EAST PARTNERS, LLC was and

                     still is a domestic limited liability company, organized and existing under and by virtue of the

                     laws of the State of New York, with its principal placed of business located in the State of New

                     York.



                              2.      At all times hereinafter mentioned, defendant TRAVELERS EXCESS AND

                     SURPLUS LINES COMPANY, ("Defendant") was and still is a foreign business corporation,

                     regularly conducting business in the State of New York, and subject to the Jurisdiction of this

                     Court.



                              3.      At all times hereinafter mentioned, Defendant was authorized by the New York

                     State Department of Financial Services to issue policies of insurance in the State of New York,
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                        including the policy issued to Plaintiff herein.



                                4.      At all times hereinafter mentioned, defendant was an unadmitted carrier, regularly

                        conducting business in and subject to the jurisdiction of the Courts of the State of New York.



                                     BACKGROUND FACTS RELEVANT TO ALL CAUSES OF ACTION

                                5.      At all times hereinafter mentioned, Plaintiff was and still is the owner of the

                        premises located at 58 East 1St Street, New York, New York ("the subject premises")



                                6.      At all times hereinafter mentioned, Plaintiff maintained an insurable interest in the

                        subject premises.



                                7.      At all times hereinafter mentioned, the subject premises consisted of a mixed-use

                        apartment building, containing thirty-seven (37) residential units, and one (1) commercial unit.



                                8.      Prior to January 9, 2019, for good and valuable consideration, Defendant issued to

                        Plaintiff a policy of insurance bearing number KTQ-CMB-7E25504-4-18, with effective dates of

                        coverage from June 20, 2018 through June 20, 2019 ("the Policy").



                                9.      The Policy insured the subject premises against all risks of loss, except for those

                        specifically excluded.



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                               10.     The Policy insured Plaintiff for any increased costs of construction incurred in the

                       event of a loss to the subject premises that required compliance with current building ordinances

                       and/or laws to bring it up to code (hereinafter "Code Upgrade")



                               11.     The Policy also insured Plaintiff for any loss of rental income it sustained as the

                       result of a covered loss.


                               12.     On or about January 9, 2019, vibrations and other effects caused by construction

                       work in the street outside the subject premises caused direct physical damage to the gas piping

                       system at the premises.


                               13.     As a result of the direct physical damage to the gas piping system, Con Edison

                       "red tagged" the building and shut down the gas service to the subject premises.


                               14.     Once Con Edison red tagged the building, by New York City code, the subject

                       premises had to pass integrity testing in order to have gas service restored to the building.


                               15.     By virtue of the direct physical damage sustained to the gas piping system at the

                       subject premises, Plaintiff incurred costs and expenses to upgrade the electrical system so as to

                       avoid the replacement of the gas piping system, which would have been substantially more

                       expensive.




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                                AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT
                                                (Breach of Contract Building)-




                             16.     Plaintiff repeat, reiterate and reallege each and every allegation set forth in

                      preceding paragraphs numbered "1" through "15" inclusive, with the same force and effect as

                      though more fully set forth herein at length.



                              17.    On or about January 9, 2019, while the Policy was in full force and effect, the

                      subject premises were damaged by virtue of a covered peril.



                              18.     Subsequent to January 9, 2019 Plaintiff submitted a claim to Defendant seeking to

                      be indemnified for the damages sustained to the subject premises by virtue of the covered peril.



                              19.     Plaintiff has complied with all of the conditions precedent to payment set forth in

                      the Policy.



                              20.     Defendant has failed and refused to pay Plaintiff for the property damages

                      sustained to the subject premises as a result of the loss, despite the fact that same has been duly

                      demanded.



                              21.     Defendant's failure to indemnify Plaintiff for the damages sustained to the subject

                      premises as a result of January 9, 2019 loss constitutes a breach of contract.




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                            22.      As a result of Defendant's breach of contract, Plaintiff has been damaged in a sum

                     to be determined at the trial of this action, but believed to exceed the jurisdictional limits of all

                     Lower Courts.


                             AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANT
                                        (Breach of Contract Loss of Rental Income)
                                                                          -




                             23.     Plaintiff repeats, reiterates and realleges each and every allegation set forth in

                     preceding paragraphs numbered "1" through "22" inclusive, with the same force and effect as

                     though more fully set forth herein at length.



                             24.     On or about January 9, 2019, while the Policy was in full force and effect, the

                     subject premises was damaged as a result of a covered peril.



                             25.     As a direct and proximate result of the January 9, 2019 loss, and the loss of gas to

                     the subject premises, and to mitigate its losses, Plaintiff provided several tenants with a rent

                     abatement.



                             26.     Subsequent to January 9, 2019, Plaintiff submitted a claim to Defendant seeking to

                     be indemnified for the loss of rental income it sustained as a result of the loss.



                             27.     Plaintiff has complied with all of the conditions precedent to payment set forth in

                     the Policy.



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                               28.     Defendant has failed and refused to indemnify Plaintiff for its loss of rental

                      income, despite the fact that same has been duly demanded.



                               29.     Defendant's failure to indemnify Plaintiff for its loss of business income by virtue

                      of the Loss constitutes a breach of contract.



                               30.     As a result of Defendant's breach of contract, Plaintiff has been damaged in a sum

                      to be determined at the trial of this action, but believed to exceed the jurisdictional limits of all

                      Lower Courts.



                            WHEREFORE, Plaintiff demands judgment against Defendant: (1) on its First Cause of

                      Action for Breach of Contract in a sum to be determined at trial, but believed to exceed the

                      jurisdictional limits of all Lower Courts; and (2) on their Second Cause of Action for Breach of

                      Contract in a sum to be determined at the trial of this action, but believed to exceed the

                      jurisdictional limits of all Lower Courts, with interest thereon from January 9, 2019, together with

                      the costs and disbursements of this action, including reasonable attorney's fees.

                      Dated:         New York, New York
                                     March 2, 2020

                                                                         LERNER, ARNQLD & WII\JSJON, LLP


                                                                         By                 C_~
                                                                                    *nathan C. Lerner
                                                                         475    k Ayenue South, 28th Floor
                                                                         New YorK, New York 10016
                                                                         (212) 686-4655

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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK

           58 EAST PARTNERS, LLC,

                                                  Plaintiff,

                              -against-

           TRAVELERS EXCESS AND SURPLUS LINES COMPANY,

                                                  Defendant.


                                                    SUMMONS and COMPLAINT




          Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney duly admitted to pra e la         the State of 'w York; certifies
          that, upon information and be! ief based upon reasonable inquiry, the contentions o t ned I the annexe       cument are not
          frivolous.

          Dated:             March 2, 2020                           Signature:

                                                                     Print Signer's me:           Johnathan C. Lerner



          Service of a copy of the within                                                   J      is hereby admitted.

         Dated:

                                                                              Attorney(s)for




                                       LERNER, ARNOLD & WINSTON, LLP
                                                       Attorneys for Plaintiff
                                                 475 Park Avenue South 28th Floor -




                                                    New York, New York 10016
                                                          (212) 686-4655




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
-----------------------------------------------------------------------X
58 EAST PARTNERS, LLC
                                                                           Index No. 651408/20
                             Plaintiff,

              -against-                                                    ADMISSION OF SERVICE

TRAVELERS EXCESS AND SURPLUS
LINES COMPANY,

                             Defendant.

-----------------------------------------------------------------------X

       I, Yale Glazer, a Member of the law firm Lazare Potter Giacovas & Moyle, LLP, counsel for

defendant TRAVELERS EXCESS AND SURPLUS LINES COMPANY (hereinafter “Travelers”),

hereby acknowledge receipt of a copy of the Summons and Complaint filed in this case, and service

of this pleading is accepted and admitted. Travelers hereby waives any requirement for additional

service of the Summons and Complaint in this action. Travelers hereby agrees to Answer the

Complaint on or before June 30, 2020.

Dated:        New York, New York
              May 28, 2020


                                                   ________________________________
                                                         YALE GLAZER
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        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK

        58 EAST PARTNERS, LLC,

                                   Plaintiff,                     Index No.: 651408/2020

                    - against -                                   ANSWER

        TRAVELERS EXCESS AND SURPLUS LINES
        COMPANY,

                                  Defendants.


               Defendant Travelers Excess and Surplus Lines Company (“Travelers”), by its attorneys

        Lazare Potter Giacovas & Moyle LLP, as and for its answer to Plaintiff 58 East Partners, LLC’s

        (“Plaintiff”) Complaint (the “Complaint”), states as follows:

               1.        Denies knowledge and information sufficient to form a belief as to the truth of the

        allegations contained in paragraphs 1, 5, 6, 7 and 14 of the Complaint.

               2.        Admits the allegations contained in paragraph 2 of the Complaint.

               3.        Denies the allegations contained in paragraphs 3 and 4 of the Complaint, except

        admits that Travelers is an unadmitted carrier which conducts business in the State of New York.

               4.        Denies the allegations contained in paragraphs 8, 9, 10 and 11 of the Complaint,

        except admits that Travelers issued a policy (no. KTQ-CMB-7E25504-4-18) to Plaintiff effective

        June 20, 2018 to June 20, 2019 (the “Policy”), respectfully refers the Court to the Policy for its full

        terms, conditions, provisions, exclusions, limitations and endorsements, and denies all remaining

        allegations.

               5.        Denies the allegations contained in paragraphs 12 and 13 of the Complaint.

               6.        Denies the allegations contained in paragraph 15 of complaint that the alleged

        damage to the premises was caused by “direct physical damage” as that term is defined in the




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        Policy, and otherwise denies knowledge and information sufficient to form a belief as to the truth of

        the remaining allegations.

                                      AS AND FOR A RESPONSE TO THE
                                          FIRST CAUSE OF ACTION

              7.       In response to paragraph 16 of the Complaint, Travelers repeats and reiterates each

         and every response to paragraphs 1 through 15 of the Complaint as if fully set forth herein.

              8.       Denies the allegations contained in paragraphs 17, 21 and 22 of the Complaint.

              9.       Denies the allegations contained in paragraph 18 of the Complaint, except admits

         that Plaintiff submitted a claim to Travelers.

              10.      Denies knowledge and information sufficient to form a belief as to the truth of the

         allegations contained in paragraph 19 of the Complaint.

              11.      Denies the allegations contained in paragraph 20 of the Complaint, except admits

         that Travelers properly and justifiably denied coverage to Plaintiff for the claimed loss.

                                          AS AND FOR A RESPONSE TO THE
                                             SECOND CAUSE OF ACTION

              12.      In response to paragraph 23 of the Complaint, Travelers repeats and reiterates each

         and every response to paragraphs 1 through 22 of the Complaint as if fully set forth herein.

              13.      Denies the allegations contained in paragraphs 24, 29 and 30 of the Complaint.

              14.      Denies knowledge and information sufficient to form a belief as to the truth of the

         allegations contained in paragraphs 25 and 27 of the Complaint.

              15.      In response to paragraph 26 of the Complaint, admits that Plaintiff submitted a claim

         to Travelers, respectfully refers the Court to such submission for its full and true meaning and

         content, and denies all remaining allegations.




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              16.      Denies the allegations contained in paragraph 28 of the Complaint, except admits

         that Travelers properly and justifiably denied coverage to Plaintiff for the claimed loss.

                                        AS AND FOR A FIRST DEFENSE

              17.      Plaintiff has failed to state any claim or cause of action against Travelers for which

         relief can be granted.

                                       AS AND FOR A SECOND DEFENSE

              18.      Plaintiff’s claims against Travelers are barred, upon information and belief, by

         laches, waiver, estoppel, unclean hands and/or statute of limitations.

                                        AS AND FOR A THIRD DEFENSE

              19.      Plaintiff’s claims against Travelers should be dismissed based on defenses founded

         upon documentary evidence.

                                       AS AND FOR A FOURTH DEFENSE

              20.      Upon information and belief, Plaintiff failed to mitigate its alleged damages.

                                        AS AND FOR A FIFTH DEFENSE

              21.      The Policy covers only “risks of direct physical loss” to covered property unless

         excluded or limited. Plaintiff’s claims should be dismissed because and to the extent it seeks

         recovery with respect to something other than direct physical loss or damage to covered property

         under the Travelers Policy.

                                        AS AND FOR A SIXTH DEFENSE

              22.      The Policy, under its language and applicable law/public policy, does not and cannot

         cover any pre-existing loss or damage.

                                       AS AND FOR A SEVENTH DEFENSE

              23.      The Policy requires Plaintiff to cooperate with Travelers, including but not limited to




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         providing prompt notice of a claim or loss and an opportunity for Travelers to inspect the claimed

         loss before altering it or making any changes to same. If and to the extent Plaintiff failed to

         comply with such obligations, there is no coverage available under the Policy.

                                       AS AND FOR AN EIGHTH DEFENSE

               24.      The Complaint should be dismissed if and to the extent Plaintiff failed to name

         and/or join all necessary parties to this action.

                                         AS AND FOR A NINTH DEFENSE

               25.      In the event that Travelers is found to owe coverage for the loss, which Travelers

         denies, Plaintiff is not entitled to payment beyond that permitted by the terms, conditions and

         procedures set forth in the Policy’s “Loss Settlement,” “Loss Payment,” “Limits of Insurance”,

         “Other Insurance” or any other such provisions.

                                         AS AND FOR A TENTH DEFENSE

               26.      Any coverage afforded by the Policy would be subject to any and all deductibles,

         retained limits, retentions, self-insured retention and/or other limits as stated in the Policy.

                                     AS AND FOR AN ELEVENTH DEFENSE

               27.      The Complaint should be dismissed to the extent it concerns or relates to any alleged

         circumstances, accidents, losses, occurrences or damages that took place outside of the policy

         period of the Policy. Nor does the Policy, under its language and applicable law/public policy,

         cover any damage or loss that existed prior to the inception of the Policy and/or that was (or should

         have been) known to the insured prior to the inception of the Policy.

                                       AS AND FOR A TWELFTH DEFENSE

               28.      Any obligation by Travelers under the Policy is subject to all its terms, conditions,

         limitations, provisions and exclusions




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                                     AS AND FOR A THIRTEENTH DEFENSE

              29.       While the Policy provides coverage for “Ordinance or Law,” as defined therein, any

         coverage would be subject to the terms and conditions of such coverage under the Policy, and in

         the timeframe set forth therein.

                                     AS AND FOR A FOURTEENTH DEFENSE

              30.      The Policy provides in pertinent part as follows:

               D. EXCLUSIONS

                       1. The Company will not pay for loss or damage caused directly or indirectly by any
                       of the following. Such loss or damage is excluded regardless of any other cause or
                       event that contributes concurrently or in any sequence to the loss.

                       a. EARTH MOVEMENT

                       (1) Any earth movement . . . and any other earth sinking, rising, shifting or
                       movement, all whether naturally occurring or due to man made or other artificial
                       causes.

                                                       * * **

                       2. We will not pay for loss or damage caused by or resulting from any of the
                       following:

                                                          ****

                       c.      (1)     wear and tear or depletion;
                               (2)     rust, corrosion, fungus, decay, deterioration, wet or dry rot, mold,
                                       hidden or latent defect or any quality in property that causes it to
                                       damage or destroy itself;
                               (3)     settling, cracking, shrinking or expansion;

                                                      * * * *

                       3. The Company will not pay for any loss or damage caused by or resulting from any
                       of the following: . . . .

                       c.       Faulty, inadequate or defective:

                               (1)     Planning, zoning, development, surveying, siting;
                               (2)     Design, specifications, workmanship, repair,            construction,



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                                      renovation, remodeling, grading, compaction;
                              (3)     Materials used in repair, construction, renovation or remodeling; or
                              (4)     Maintenance;

                              of part or all of any property on or off the described premises. . . .

              31.      If and to the above exclusions apply, there is no coverage available to Plaintiff under

         the Policy.

                                    AS AND FOR A FIFTEENTH DEFENSE

              32.      Any request for recovery of business income or extra expense would be subject to

         the Policy terms, conditions and provisions concerning the recovery of said damages.

                                    AS AND FOR A SIXTEENTH DEFENSE

              33.      Travelers reserves the right to assert additional defenses (policy based or otherwise)

         upon receipt and review of all documents and other materials or information relevant to this matter.

               WHEREFORE, Travelers demands judgment as follows:

               a.      dismissing the Complaint in its entirety;

               b.      awarding Travelers its costs and expenses; and

               c.      awarding Travelers such other and further relief as the Court otherwise deems just

        and proper.

        Dated: New York, New York
               June 3, 2020

                                                     LAZARE POTTER GIACOVAS & MOYLE LLP

                                                     By: ____s/yale glazer________________
                                                            Yale Glazer, Esq.
                                                     747 Third Avenue, 16th Floor
                                                     New York, New York 10017
                                                     (212) 758-9300
                                                     Attorneys for Defendant Travelers Casualty Insurance
                                                     Company of America




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        TO:   LERNER, ARNOLD & WINSTON, LLP
              Johnathan C. Lerner, Esq.
              475 Park Avenue South, 28th Floor
              New York, New York 10016
              (212) 686-4655
              Attorneys for Plaintiff

              (via NYSCEF)




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